 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 1 of 8 Page ID #:1969


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:10-cv-03301-JHN-AJWx                                         Date   April 7, 2011
 Title             Syed Naqvi et al v. Citibank NA et al



 Present: The                    JACQUELINE H. NGUYEN
 Honorable
                 Alicia Mamer                              Not Reported                           N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not present                                            Not present
 Proceedings:           ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS’
                        MOTION FOR SUMMARY JUDGMENT (In Chambers)

On March 11, 2011, Defendants Citibank, N.A. and Citibank (West) F.S.B. (collectively, “Citibank” or
“Defendants”) filed a Motion for Summary Judgment or, in the Alternative, Summary Adjudication of
Claims (“Motion”; docket no. 10). The Court has read and considered the papers filed in this matter and
deems the matter appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule
7-15. Accordingly, the hearing set for April 11, 2011, is removed from the Court’s calendar.1

                                                I. BACKGROUND

Plaintiffs filed this action in California Superior Court on August 10, 2009. Defendants removed the
action to federal court on May 3, 2010, on the basis of diversity jurisdiction.2

Plaintiffs are Syed Naqvi on Behalf of the Syed Naqvi Rollover IRA Account (“Naqvi”) and Patrick
Walsh on Behalf of the Patrick J. Walsh Rollover IRA Account (“Walsh”). Both Naqvi and Walsh were
physicians and members of an investment group called Orange County Physicians Investment Network,
LLC (“OCPIN”). Through an agreement executed in 2005, OCPIN became the majority stakeholder in
Integrated Healthcare Holdings, Inc. (“IHHI”), a corporation that purchased four Orange County
hospitals and the affiliated real estate from Tenet Healthcare Corporation. OCPIN accomplished its
investment in IHHI by raising funds from the physicians who thereby became its members.

Naqvi made his investment in two portions. Part of his second investment came from Individual
Retirement Account (“IRA”) funds he held at various institutions. The total amount of IRA funds that

         1
          In submissions accompanying their Reply, Defendants raise numerous evidentiary objections to
declaration testimony submitted by Plaintiffs. Because the Court does not rely on the testimony objected
to, it need not rule on Defendants’ evidentiary objections.
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       Because the parties are familiar with the facts of the case, the Court here lays out only a brief
summary of the factual context.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 2 of 8 Page ID #:1970


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                       Date   April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

Naqvi invested in OCPIN was $140,000. Walsh invested a total of $300,000 in OCPIN, with all funds
originating from IRA accounts at two institutions. Both Plaintiffs arranged for the transfer of funds
through personnel at Citibank’s South Coast Plaza branch, which was close to OCPIN’s headquarters.

The crux of the controversy in this action involves the circumstances under which the IRA transfers
were accomplished. Plaintiffs allege that the transfers were done as IRA rollovers from the previous
institutions’ accounts to accounts at Citibank, which then invested the funds in OCPIN, and that
Citibank was therefore obligated to ensure that Plaintiffs’ IRA investments were suitable and prudent.
Defendants assert that neither Plaintiff opened a Citibank IRA and that in fact their IRA funds from
other institutions were deposited directly into OCPIN’s business checking account at the South Coast
Plaza Citibank branch.

The OCPIN investment in IHHI lost value, and Plaintiffs claim a total loss of the IRA funds invested
therein. Plaintiffs’ Complaint alleges nine causes of action: (1) breach of Citibank’s fiduciary duty as an
IRA trustee; (2) negligence through a breach of the standard of care of IRA trustees; (3) negligent
misrepresentation; (4) intentional misrepresentation; (5) violations of securities laws (Cal. Corp. Code §
25235); (6) failure to train and supervise the Citibank personnel involved; (7) accounting; (8) breach of
contract; and (9) tort of another, by which Plaintiffs claim a right to recover attorney fees against
Defendants.

                                         II. LEGAL STANDARD

Federal Rule of Civil Procedure 56 allows a party against whom relief is sought to move for summary
judgment on all or part of the claim. Fed. R. Civ. P. 56(a).3 Summary judgment is appropriate where
“the movant shows that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Id. The moving party bears the burden of showing that the motion is
properly made and supported. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (quoting former Fed.
R. Civ. P. 56(c)); see also Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir.
2000) (“In order to carry its burden of production, the moving party must either produce evidence
negating an essential element of the nonmoving party’s claim or defense or show that the nonmoving
party does not have enough evidence of an essential element to carry its burden of persuasion at trial.”).
“The court need consider only the cited materials, but it may consider other materials in the record.”
Fed. R. Civ. P. 56(c)(3). If the moving party meets its initial burden, the nonmoving party must then
present specific facts that demonstrate the existence of a genuine factual issue that should be resolved at
trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986). Where the opposing party is able to

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        Rule 56 was revised effective December 1, 2010. However, the standard for granting summary
judgment remains the same as before the revision. Seacor Holdings, Inc. v. Commonwealth Ins. Co., No.
10-30020, 2011 WL 983117, at *3 n.8 (5th Cir. Mar. 10, 2011); Doe v. City of San Mateo, No. C 07-
05596 SI, 2011 WL 500203, at *2 n.1 (N.D. Cal. Feb. 9, 2011).

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                  Page 2 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 3 of 8 Page ID #:1971


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                      Date   April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

identify specific, relevant facts evidencing a genuine issue of material fact, the court must draw all
inferences in favor of the opposing party and accordingly deny summary judgment. T.W. Elec. Serv.,
Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 631 (9th Cir. 1987). However, the lack of any
genuine issue of material fact will necessitate a grant of summary judgment.

                                            III. DISCUSSION

A.       Claims for Breach of Contract and Breach of Fiduciary Duty

At the heart of Defendants’ arguments in support of summary judgment is their assertion that Plaintiffs
have failed to provide any evidence to show the existence of a written IRA account contract between
Citibank and either Plaintiff, that in reality Plaintiffs’ IRA funds were deposited directly into OCPIN’s
Citibank account, and that on this basis, Citibank owed Plaintiffs no duties under a contract or as an IRA
trustee. (See, e.g., Mem. of P. & A. (“Mem.”) 4, 15, 18.)

The Court disagrees with Defendants’ assertion that “there is no evidence that a contract was ever
entered into with Citibank.” (Mem. 15.) In fact, some evidence submitted by Defendants suggests that
Plaintiffs may have formed IRA contracts with Citibank. Plaintiffs’ evidence submitted in opposition to
the Motion also tends to show the existence of such contracts, though the Court agrees that Plaintiffs’
failure to produce the written contracts significantly weakens their case.

For example, Defendants make much of the fact that Walsh produced only one form, a “Citibank IRA
Transfer and Direct Rollover Form” (“IRA Rollover Form”). (Decl. of Haroon Amini Ex. 4.) Defendants
contend that this form is not a contract establishing an IRA and that the form itself demonstrates that a
separate Citibank IRA Application is required to open a Citibank IRA account. (Mem. 14.) Defendants
cite to Walsh’s deposition, claiming that “Walsh readily admits that he never” filled out that separate
application. (Id.) The evidence, however, is not so clear-cut. The form itself also contains, above
Walsh’s signature, the language, “I have completed an application for the IRA named above.”
Moreover, Walsh’s deposition and that of his wife, Anna Walsh, both indicate that a separate IRA
application may have been completed.4 When Walsh was asked, “Did you fill out a Citibank IRA
application on August 1, 2005?” he answered that he did not. (Dep. of Patrick Walsh 50:16–18.) This
statement does not clearly say that Walsh never submitted such an application—it merely establishes
that he did not himself fill one out on that particular day. Similarly, when shown a Citibank IRA
application form and asked, “Do you know if you ever filled one of those out?” Walsh answered, “No.”
(Id. at 134:21–25.) The answer indicates a lack of knowledge rather than knowledge that Walsh had not
filled out the form, as Defendants assert. Though taken as a whole, Walsh’s testimony does not appear
to support Plaintiffs’ position, Anna Walsh’s deposition testimony suggests that forms other than the

         4
        The record indicates that Anna Walsh was directly involved in the process of establishing
Walsh’s alleged Citibank IRA account.

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                 Page 3 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 4 of 8 Page ID #:1972


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                       Date    April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

IRA Rollover Form were completed. According to her testimony, when she visited the Citibank branch
on August 1, 2005, an application had already been completed based on information provided to
Citibank personnel about the Walshes, and she was provided only one portion of that application—the
IRA Rollover Form—which was the portion Walsh needed to sign. (Dep. of Anna Walsh (“A. Walsh
Dep.”) 102:23–103:2.) Anna Walsh also testified that on August 3, 2005, the day she and Walsh went
together to the Citibank branch to finalize the rollover, she saw Walsh sign a form with the words
“Citibank IRA application” at the top. (Id. at 107:9–12.)

The evidence also shows a factual dispute with respect to Naqvi. Though Defendants assert that Naqvi
has never produced any documentary evidence of a written contract with Citibank and that he does not
have any such documents in his possession (Mem. 14), Naqvi testified at his deposition that he filled out
some forms when he visited the Citibank branch to set up his IRA rollover. (Dep. of Syed Naqvi
(“Naqvi Dep.”) 77:23–78:22.) Also, in response to Defendants’ form interrogatories, Naqvi stated his
belief that he executed a form similar to Walsh’s IRA Rollover Form and that Citibank has the forms he
completed for his IRA application in its possession. (Decl. of Tricia L. Legittino Ex. 6, at 9.) This
evidence, though far from compelling, is sufficient to render summary judgment inappropriate.

Because Defendants have not shown that Plaintiffs cannot establish the existence of IRA contracts with
Citibank, Defendants have not met their burden on summary judgment as to the breach of contract
claim. Moreover, the potential existence of such contracts implicates the fiduciary duties owed by an
IRA trustee, defeating a central argument raised by Defendants in favor of summary judgment of the
claim for breach of fiduciary duty. (Mem. 17; Reply 7.) Additionally, Defendants did not meet their
burden of showing the scope or limits of the fiduciary duty that would apply to Citibank if the fact-
finder determines that IRA contracts were indeed formed. See Brown v. Cal. Pension Admins. &
Consultants, Inc., 45 Cal. App. 4th 333, 337–38 (1996) (holding, in a case involving the duties of a bank
acting as an IRA trustee, that “express provisions in the documents governing the business relationship
between the parties limited the duties of the trustee”). For this reason, like the breach of contract claim,
summary judgment cannot be granted on the breach of fiduciary duty claim.

B.       Claims Based on Misrepresentations

Plaintiffs’ misrepresentation-based claims must also survive summary judgment. Defendants argue that
these claims fail because there is no evidence of either misrepresentations or reliance. (Mem. 22.) The
alleged misrepresentations fall into two categories: (1) whether Plaintiffs’ IRA funds were being rolled
over into Citibank IRA accounts (see, e.g., Compl. ¶¶ 33–34, 89, 96); and (2) whether OCPIN was a
good investment for an IRA account (see, e.g., id. ¶¶ 35–37, 89). Plaintiffs’ evidence, including that
discussed above, establishes a factual issue as to whether Citibank represented that it was opening IRA
rollover accounts for Plaintiffs. As to the propriety of investments in OCPIN, Defendants assert that at
his deposition, Naqvi did not recall Citibank personnel telling him OCPIN was a good investment.
(Mem. 22.) Naqvi’s deposition testimony does include his statement that no Citibank personnel told him
“in those words” that OCPIN was a good investment. (Naqvi Dep. 90:1–3.) In his testimony Naqvi also
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                   Page 4 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 5 of 8 Page ID #:1973


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                       Date    April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

stated his belief that Citibank personnel misled him into investing in OCPIN by accepting his IRA funds
and taking on the role of an IRA trustee. (Id. at 107:21–108:19.) Similarly, the record includes evidence
from Anna Walsh’s deposition regarding representations made to her and Walsh regarding the safety
and strength of the OCPIN investment. (See, e.g., A. Walsh Dep. 82:10–25; 131:14-20; 133:2–8.)

Regarding Plaintiffs’ reliance, Defendants assert that the evidence shows Plaintiffs had decided to invest
in OCPIN before they spoke with Citibank personnel. (Mem. 22–23.) Though Naqvi testified at his
deposition that he had already decided to invest in OCPIN (Naqvi Dep. 89:18–20), the record also
shows that Naqvi in fact had already invested in OCPIN; the deposition testimony does not refer
specifically to his decision to invest his IRA funds. That deposition also contains some evidence
indicating that Naqvi may have relied on Citibank personnel in making the investment of his IRA funds.
(See, e.g., id. at 93:8–16.) The evidence regarding Walsh similarly suggests that he and his wife may
have relied on Citibank personnel in reaching their investment decision.5 (See, e.g., A. Walsh Dep.
121:12–122:11; 122:23–123:2.)

C.       Claim for Violations of Securities Laws

Defendants argue, in part, that Plaintiffs’ claim for violations of California securities laws fails because
of a lack of evidence that Citibank took on the role of an investment advisor, as required by California
Corporations Code sections 25235(a) and (b). (Mem. 24.) The Court agrees that Plaintiffs have not
presented evidence establishing Citibank was an investment advisor as defined under the California
Corporations Code. Section 25009 defines an investment advisor as
        any person who, for compensation, engages in the business of advising others, either
        directly or through publications or writings, as to the value of securities or as to the
        advisability of investing in, purchasing or selling securities, or who, for compensation
        and as a part of a regular business, publishes analyses or reports concerning securities.
Cal. Corp. Code § 25009(a). The statute specifically excludes banks from the definition. Id. To the
extent Plaintiffs seek to argue that Citibank personnel are investment advisors subject to section 25235,
that argument would fail, because even viewing the evidence in the light most favorable to Plaintiffs, the
personnel with whom they interacted primarily sought to assist them with opening IRA accounts. Any
advice given regarding OCPIN was secondary to this main purpose for the consultation with Plaintiffs.
In other words, these employees did not hold themselves out as “engaging in the business of advising
others” regarding investments. Neither is there evidence that they “publishe[d] analyses or reports
concerning securities.” Because neither Citibank nor its employees are investment advisors as defined

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          Walsh appears to have faxed an executed OCPIN Membership Interest Purchase Agreement to
Richard Carpe—a C.P.A. who was employed by OCPIN to maintain its books and records—on July 29,
2005, based on the fax date at the top of the pages of that document. (Dep. of Richard Carpe 11:1–25;
Ex. 7.) However, the Court disagrees with Defendants’ contention that Walsh was contractually bound
to the investment as of that day, as the document was effective August 2, not July 29. (Id.)

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                   Page 5 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 6 of 8 Page ID #:1974


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                         Date    April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

by the California securities laws, the claim for violations of securities laws fails as a matter of law.
Therefore, the Court grants summary judgment in favor of Defendants as to this claim.

D.       Claims for Negligence, Failure to Train, and Accounting

Defendants’ argument regarding the negligence claim focuses on the lack of a common-law duty of care
under the circumstances of this case. (Mem. 21; Reply 9.) This argument depends on a conclusion that
no IRA accounts were established, which the Court finds unsupported by the evidence before it at this
time. The same is true for Defendants’ arguments regarding Plaintiffs’ claims for failure to train and
supervise and for accounting: the Court has previously discussed and rejected Defendants’ arguments.

E.       Claim for “Tort of Another”

Defendants argue that Plaintiffs’ claim based on the “tort of another” doctrine should be summarily
adjudicated because this doctrine does not apply to the present circumstances. (Mem. 25–26.)
Defendants note that the mere fact that two Citibank entities have been named does not allow Plaintiffs
to use this doctrine to entitle them to an award of attorney fees. (Id.) The Court agrees. The “tort of
another” doctrine allows a plaintiff to recover attorney fees when the plaintiff must bring an action
against a party because of the negligence of a third party. Elec. Elec. Control, Inc. v. L.A. Unified Sch.
Dist., 126 Cal. App. 4th 601, 616 (2005). However, the doctrine does not allow recovery of attorney fees
in the case of joint tortfeasors. Id. at 617. Here, to the extent that Defendants are separate actors—given
that they are affiliated business entities—their liability is based on the same conduct, and the “tort of
another” doctrine does not apply. Moreover, Plaintiffs failed to raise an argument in opposition to
summary judgment as to this claim. Therefore, the Court grants summary judgment as to Plaintiffs’
ninth cause of action for tort of another.

F.       Tort Claims Generally

Defendants additionally argue that all of Plaintiffs’ tort claims are barred under California precedents
that do not allow Plaintiffs to assert claims under tort theories if the claims are based on an alleged
breach of contract. (Mem. 15–16.) The Court disagrees with Defendants’ characterization of the case
law. In Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503 (1994), the California Supreme
Court held that “[c]onduct amounting to a breach of contract becomes tortious only when it also violates
an independent duty arising from principles of tort law.” Id. at 515. The California Supreme Court made
a similar statement in Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 990 (2004) (noting that
tort damages have been allowed in contract cases when a duty independent of the contract gave rise to
tort liability). Plaintiffs’ tort claims are based on such a duty, and allowing these claims to go forward
does not contravene California Supreme Court precedent.

G.       Statutes of Limitations


CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                     Page 6 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 7 of 8 Page ID #:1975


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                       Date    April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

Defendants also seek summary judgment as to Naqvi on statute of limitations grounds. (Mem. 26–27.)
They argue that Plaintiffs’ suit was filed more than four years after Naqvi knew OCPIN was not a safe
investment—contrary to the alleged representations by Citibank—based on Naqvi’s review of a Private
Placement Memorandum (“PPM”) prepared by OCPIN’s counsel in February 2005.6 (Id. at 27.) The
PPM at issue is dated February 16, 2005, and includes a lengthy discussion of risk factors related to an
investment in OCPIN. (Decl of Dr. Anil V. Shah (“Shah Decl.”) Ex. 5, at 1, 7–20.) According to
Defendants, through his review of the PPM, Naqvi “clearly knew all of the risk factors associated with
an investment in OCPIN by February 2005.” (Mem. 27.) Defendants cite to portions of Naqvi’s
deposition in support of the assertion that Naqvi admitted reviewing the PPM, agreed with its contents,
and signed the PPM in February 2005 as a member of OCPIN. (Id.) It is true that Naqvi’s deposition
testimony indicates that he signed and agreed with the contents of the PPM, and that when asked when
he began to recognize that OCPIN was a high-risk investment, he said “[w]hen probably this PPM came
out.” (Naqvi Dep. 56:12–16; 57:13–19.) However, Plaintiffs have presented clarifying evidence
indicating that at his deposition, Naqvi misunderstood the scope of what he had signed, which was in
reality only OCPIN’s operating agreement, attached as an appendix at the end of the PPM. (Shah Decl.
Ex. 5, at App. 3.) In his declaration in opposition to the Motion, Naqvi explains that when he was
presented with the PPM at his deposition, Naqvi “mistakenly assumed that because [the PPM] bore my
signature I was obligated to its terms” but later realized that he had read only the pages on which his
initials or signature appeared, which did not include the PPM itself. (Decl. of Syed Naqvi ¶ 48.) The
Court finds the evidence consistent with Naqvi’s explanation: in particular, the fact that the operating
agreement appears to have been signed on or about January 5, 2005, more than a month before the PPM
was issued. (Shah Decl. Ex. 5, at App. 3.) Moreover, in context Naqvi’s statement regarding when he
began to believe OCPIN was a high-risk investment does not unequivocally show that he read the PPM
when it came out. On the basis of the evidence before the Court, therefore, Defendants have not
established that it is entitled to summary judgment as to Naqvi because his claims are time-barred.7



         6
         Defendants assert that all causes of action in the Complaint are subject to limitations periods of
four years or less. (Mem. 27 n.10.) Because the Court rejects Defendants’ argument that Naqvi’s claims
are time-barred, it need not address the accuracy of Defendants’ assertion.

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          In their Reply, Defendants also point to the OCPIN Subscription Agreement that Naqvi
executed in November 2004 (Shah Decl. Ex. 3), which Defendants claim sets forth that OCPIN
securities “are speculative investments which involve a high degree of risk of loss.” (Reply 14.) The
Court does not address this argument for two reasons: first, Defendants raised the argument regarding
the Subscription Agreement only in their Reply, depriving Plaintiffs of the opportunity to respond;
second, Defendants cite to the ten-page, single-spaced Subscription Agreement in general without
identifying the location of the quoted language. See Fed. R. Civ. P. 56(c)(1)(A) (requiring a party to cite
to “particular parts of materials in the record”).

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                   Page 7 of 8
 Case 2:10-cv-03301-JHN-AJW Document 16 Filed 04/07/11 Page 8 of 8 Page ID #:1976


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       2:10-cv-03301-JHN-AJWx                                            Date    April 7, 2011
 Title          Syed Naqvi et al v. Citibank NA et al

                                           IV. CONCLUSION

Defendants’ Motion is GRANTED as to Plaintiffs’ fifth cause of action for violations of securities laws
and ninth cause of action for tort of another and is otherwise DENIED.

IT IS SO ORDERED.




                                                                                                  :       N/A

                                                           Initials of Preparer      AM




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                        Page 8 of 8
